Name & Case
         Address:
                2:18-cr-00345-JFW Document 44 Filed 07/16/18 Page 1 of 1 Page ID #:161
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                 CASE NUMBER:

                                                                            CR 18-345-JFW
                                           PLAINTIFF(S)
                          v.
JOHN SARO BALIAN,                                                  NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

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July 16, 2018                                              JEFF MITCHELL
Date                                                       Attorney Name
                                                           UNITED STATES OF AMERICA
                                                           Party Represented

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